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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

               Plaintiff,

v.                                                                    06-CR-759 MCA

ISAAC GORDO,

               Defendant.

                                              ORDER

       THIS MATTER having come before the Court on the stipulation and agreement of the

parties to allow the disclosure and/or discovery and inspection by the parties of certain medical

records that may be material to matters raised at the trial of this case and in Defendant’s motion for

a new trial and which may or may not otherwise be protected by any rules, regulations, or laws of

confidentiality and privacy governing disclosure of otherwise confidential information relating to

Lydia Henderson and David Keetso, and the Court being advised that such production is necessary

to the resolution of matters raised in Defendant’s Motion for New trial, and that disclosure of such

information may or will implicate the confidentiality and privacy rights of David Keetso and Lydia

Henderson; the Court ORDERS that:

       1.      Indian Health Services is directed to produce within fourteen (14) days of the entry

of this Order, all medical records and billing records including without limitation: medical reports,

clinical notes, nurses notes, history of injury, subjective and objective complaints, x-rays, x-ray

reports or interpretations, SANE examination or other rape examination notes and findings, other

diagnostic tests (including a copy of the report), diagnosis and prognosis; if applicable, emergency

room records or logs, history and physical examination report, laboratory reports, reports of
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operation, operation logs, progress notes, doctors’ orders, physical therapy records, admission and

discharge summaries, and all out-patient records; and any other documents, records, or information

in possession of Indian Health Services or any of its clinics, records custodians, and/or other

agencies and employees, relative to Dave Keetso and Lydia Henderson’s physical conditions from

December 1, 2004 through December 31, 2005.

        2.     To protect Dave Keetso’s and Lydia Henderson’s rights of privacy, the

confidential medical records shall be disclosed only to the attorneys for named parties in this

action (including their employees), and outside expert witnesses and consultants employed by

the parties or their attorneys for this action. All such persons shall use such Confidential

Material solely in the preparation for or at the evidentiary hearing on Defendant’s motion for a

new trial and for no other purpose. Nothing contained in this Order, and no action taken pursuant

to this Order, shall prejudice the right of any party to contest the admissibility of the medical

records obtained pursuant to this Order. In the event that any Confidential Material is included

with, or the contents thereof are in any way disclosed in, any pleading, motion, or other papers

filed with the Clerk of this Court, such Confidential Material shall be filed under seal; provided,

however, that in such cases, all such papers shall be furnished to the Court and attorneys for the

parties, and a duplicate copy thereof with the confidential material deleted therefrom, may be

placed in the public record.

       IT IS SO ORDERED this 24th day of May, 2010.



                                       ______________________________________
                                       THE HONORABLE M. CHRISTINA ARMIJO
                                       UNITED STATES DISTRICT COURT JUDGE


Submitted and Approved By:
/s/ Kirtan Khalsa
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Kirtan Khalsa
Attorney for Defendant

Telephonically Approved 5/21/10
Kyle Nayback
Assistant United States Attorney
